Case: 4:23-cv-00845-MTS Doc. #: 27 Filed: 07/18/23 Page: 1 of 1 PageID #: 10385

                                  US Court of Appeals - Eighth Circuit
                                          NOA Supplement
Caption:                                                                        USCA#:
  Johnson v. Vandergriff


Case Number:
  4:23-CV-00845-MTS

Plaintiff:                                       Defendant:
  JOHNNY A. JOHNSON                                DAVID VANDERGRIFF


Attorney:                                        Attorney:
  Kent E Gipson (for pet)                            Andrew Clarke (for res)
  121 E Gregory Blvd.                                P.O. Box 899
  Kansas City, MO 64114                              Jefferson City, MO 65102
  Ph: 816-363-4400 Fax: 816-363-4300                 Ph: 573-751-1546 Fax:
  Email: kent.gipson@kentgipsonlaw.com               Email: andrew.clarke@ago.mo.gov

  Daniel E. Kirsch (for pet)                         Gregory Michael Goodwin (for res)
  1000 Walnut                                        207 W. High St.
  Suite 600                                          P.O. Box 899
  Kansas City, MO 64106                              Jefferson City, MO 65102-0899
  Ph: 816-471-8282 Fax: 816-471-8008                 Ph: 573-751-7017 Fax: 573-751-3825
  Email: daniel_kirsch@fd.org                        Email: gregory.goodwin@ago.mo.gov

  Laurence E. Komp (for pet)
  1000 Walnut
  Suite 600
  Kansas City, MO 64106
  Ph: 816-471-8282 Fax: 816-471-8008
  Email: laurence_komp@fd.org


Court Reporter(s):                               Please return files and documents to:
  None                                             Clerk for Eastern District of Missouri

                                                 Person to contact about the appeal:
                                                   Jason Dockery at 314-244-7900


 Length of trial           Fee:                    IFP:                            Pending IFP Motion
 N/A                       None paid                 GRANTED                       No

 Counsel:                  Pending Motions:        Local Interest:                 Simultaneous Release:
 Yes                       No                        No                            No


Criminal Cases/Prisoner Pro Se Cases Only:
  Is defendant incarcerated?: Yes           Where:        Potosi Correctional Center


Please list all other defendants in this case if there were multiple defendants:
